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                   EXHIBIT
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                                    U.S. Department of Justice



•                                                Bureau of Alcohol, Tobacco,
                                                 Firearms and Explosives

                                                 Firearms Technology Industry Services Branch

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                                                 www.alf.gov




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                                                                     3311/30775



Mr.Jordan Vinroe
JSD Supply
106 Poplar Lane
Porters ville, PA 16051


Dear Mr. Vinroe:

This refers to your correspondence to the Bureau of Alcohol, Tobacco, Firearms and Explosives
(ATF), Firearms Technology Industry Services Branch (FTISB), which accompanied your
submitted sample of one metal Pre-Cursor" SIG SAUER P320 pistol frame. Specifically, you
                                0


requested an evaluation and classification for this sample.

As background, the amended Gun Control Act of 1968, 18 U.S.C. § 92l(a)(3), defines the term
"firearm" to include any weapon (including a starter gun) which will or is designed to or may be
readily converted to expel a projectile by the action of an explosive ... [and] ... theframe or
receiver of any such weapon ....

Note: FT/SB uses the following terms to describe certain items:

The rem, "receiver-blank" is used to describe forgings, castings, or machined bodies (defense
articles) such as AR-15 receiver castings, AK receiver flats, etc. in various stages of
folding/machining which are not classified as firearms.

The term "illcomplete receiver" is used to describe a receiver which may be classified as a
fireami, but is not completely machined for use as afimctionalfirearm receiver.

Please note that any receiver-casting or receiver-blank that has been finished to the point at
which it can be recognized as a firearm frame or receiver is a "firearm."
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With respect to markings, please note that 27 CFR § 478.92 states the following:

.. . each licensed manufacturer or licensed importer of any fireann manufactured or imported
shall legibly identify each suchfireann by engraving, casting, stamping (impressing), or
othenvise conspicuously placing or causing to be engraved, cast, stamped (impressed) or placed
011 the frame or receiver thereof in a manner not susceptible of being readily obliterated, altered,
or removed, an individual serial number not duplicating any serial number placed by the
111a11ufacfllrer or importer 011 any other firearm, and by engraving, casting, stamping
(impressing), or othenvise conspicuously placing or causing to be engraved, cast, stamped
(impressed), or placed on the frame or receiver, or barrel thereof in a manner not susceptible of
being readily obliterated, altered or removed, the model if such designation has been made; the
caliber or gauge; the name (or recognized abbreviation of same) of the manufaclllrer and also,
when applicable, of the importer; in the case of a domestically made firearm, the city and State
(or recognized abbreviation thereof) wherein the licensed manufacturer maillfains its place of
business; and in the case of an imported firearm, the name of the country in which mamifactured
and the city and State (or recognized abbreviation thereof) of the importer.

Furthermore, for firearms manufactured or imported on and after January 30, 2002, the
engraving, casting, or stamping (impressing) of the serial number must be to a minimum depth of
.003 inch and a minimum height of 1/16 inch. All other markings must be of a minimum depth
of .003 inch.

Results of the FfISB examination of the submitted item, fully identified below, is as follows:
Folded SIG SAUER, Model P320, semiautomatic pistol frame.
   • Overall Length            - 4-5/16 inches.
   • Height                    - 1-1/8 inch.
   • Frame Construction        - Alloy 316 (CF8M).

Right side view




Left side view
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The sample is already formed into shape to drop into place; however, the rails have not been
made into the final position for use in a completed firearm. The sample is lacking all holes for
the following parts: the trigger pin hole, trigger stop pin, sear housing roll pin, sear pivot pin,
takedown lever, slide catch lever pin, and safety lever pin.

The submitted sample has not reached a point in the manufacturing process that it would be
classified as a "firearm" as defined by the GCA.

The sample will be returned with the pre-paid shipping label you provided.

We trust that the foregoing has been responsive to your request for an evaluation. If we can be
of any further assistance, please contact us.

                                       (b) (6)incerely yours,




                                   (b) (6)
                                        Michael R. Curtis
                       Chief, Firearms Technology Industry Services Branch
